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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

STATE OF LOUISIANA, ET AL. Civil Action No.: 13-03361

ON BEHALF OF INSURED(S)/ASSIGNOR(S)/

SUBROGOR(S): DANIEL BURLETT SECTION: “S” (2)

VERSUS JUDGE: LEMMON
AMERICAN NATIONAL PROPERTY AND MAGISTRATE: WILKINSON
CASUALTY COMPANY, AMERICAN NATIONAL

GENERAL INSURANCE COMPANY AND ANPAC

LOUISIANA INSURANCE COMPANY

 

 

PLAINTIFF’S REPLY/OPPOSITION BRIEF TO DEFENDANTS’ MEMORANDUM IN
SUPPORT OF FEDERAL SUBJECT MATTER JURISDICTON AND OBJECTON TO
REMAND FOR SEVERED ACTIONS

MAY IT PLEASE THE COURT:

As explained in more detail throughout Plaintiff's Reply/Opposition Brief, contrary to
Defendants’ Memorandum in Support of Federal Subject Matter Jurisdiction and Objection to
Remand for Severed Actions, neither the Class Action Fairness Act of 2005 (“CAFA”), 28
U.S.C. §§ 1332¢d), 1441 (a) and (b) and 1453 nor any statute or rule vests this court with subject
matter jurisdiction. For this reason, the above captioned matter should be remanded to the Civil
District Court for the Parish of Orleans.

INTRODUCTION

As a result of Hurricanes Katrina and Rita, thousands of residences were destroyed by
wind or windstorms. Due to the extensive damage caused by these Hurricanes, the State
developed and implemented The Road Home Program. In order to receive funds under The
Road Home Program, the State required the insured(s)/assignor(s)/subrogor(s) to execute a
subrogation agreement called The Road Home Limited Subrogation/Assignment Agreement.

Pursuant to the agreement, the State of Louisiana was subrogated to the claims(s) and night(s) of

the insured(s)/assignor(s)/subrogor(s) against the defendant insurers for amounts due under the
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All Risk Policy which obligated defendants to cover the loss of or damage to the residence of
insured(s)/assignor(s)/subrogor(s) caused by wind or windstorms. The agreement provided the
State of Louisiana with the right to bring a direct ‘action against the defendant insurer of the
residence for the total amount of funds paid to the insured(s)/assignor(s)/subrogor(s) by the State
of Louisiana through The Road Home Program which should have been otherwise paid by the
defendant insurers under the terms of the insurance policy or policies. On August 23, 2007,
Plaintiff filed “The State of Louisiana’s Class Action Petition for Damages and Declaratory and
Injunctive Relief’ (the “Road Home litigation” or “Road Home’) in the Civil District Court for
the Parish of Orleans, Case No. 07-8970. This original petition included the claims of over one
hundred thousand recipients/potential recipients against over one hundred (100) defendant
insurers. On August 29, 2007, Plaintiff filed “The State of Louisiana’s First Amended and
Restated Class Action Petition for Damages and Declaratory and Injunctive Relief” m the Civil
District Court for the Parish of Orleans. This amended petition included the original and
additional claims of recipients/potential recipients against over two hundred (200) defendant
insurers. On September 11, 2007, Defendants, Allstate Insurance Company, Allstate Indemnity
Company, Encompass Indemnity Company, Encompass Insurance Company of America, and
Encompass Property and Casualty Company filed a Notice of Removal under CAFA, 28 U.S.C.
§ 1332, 28 U.S.C. § 1441 (a) and (b), and 28 U.S.C. § 1453. Pursuant to this Notice of
Removal, the case originally filed in the Civil District Court for the Parish of Orleans was
removed to the United States District Court, Eastern District of Louisiana. Plaintiff dismissed all
class action allegations by Motion and Order issued by the Court nunc pro tunc on April 9, 2012,
retroactive to December 3, 2010. See (R. Doc. 289, Case No, 07-5528, “Motion to Dismiss

Class Allegations Nunc Pre Tunc” and R. Doc. 292, Case No. 07-5528, “Order”).
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The Court gave defendants numerous opportunities to settle the Road Home litigation
with plaintiff. On April 22, 2013, United States Magistrate Judge Joseph C. Wilkinson, Jr.
signed a Severance Order (R.. Doc: 453, Case No. 07-5528) (“Severance Order”). The Court
determined that afier numerous settlement conferences, that all settlement efforts “have been
exhausted in this case, without. significant progress” and ordered “that the court-conducted
settlement process concerning the above-listed insurer defendants is terminated.” Magistrate
Judge Wilkinson also found that the causes of action and parties to be misjoined when he ordered
among other things “that all assignment/subrogation claims asserted by plaintiffs on behalf of all
alleged Road Home grant recipients/insureds against the defendants listed [in the Order] are
hereby SEVERED and DECONSOLIDATED from the captioned case, Civil Action No. 07-
5528 “J"(2), so that they may proceed to resolution. independently as” outlined in the Severance
Order. This was ordered to accomplish the mandate of the United States Court of Appeals for
the Fifth Circuit and the Louisiana Supreme Court who determined that the critical issue of the
validity of the assignment/subrogation rights upon which Plaintiff through its Road Home
program bases its action “must be evaluated on a policy by policy basis.” In re Katrina Canal
Breaches Litig. v. Anpac La. Ins. Co., 645 F.3d 703 s™ Cir. 2011) (quoting In re Katrina Canal
Breaches Litig., No. 2010-CQ-1823, 63 So0.3d 955, 2011 WL 1774330, at *1 (La.May10, 2011)).
Pursuant to this determination, Magistrate Judge Wilkinson ordered “that, no later than May 31,
2013, plaintiffs’ counsel must file a separate amended complaint asserting whatever rights the
State has obtained from a particularly identified individual insured/assignor/subrogor concerning
the relevant specific insurance policy claims against the appropriate above-listed defendant

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only.” Before Plaintiff began filing individual amended complaints pursuant to the Severance

Order, Plaintiff settled with all of the defendants listed in the original and amended petitions who
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had not been dismissed, with the one exception being ANPAC. In fact, Plaintiff dismissed
and/or settled one hundred and twenty thousand (120,000) claims. The only remaining claims
are the one thousand five hundred and four (1,504) claims against the ANPAC defendants
(American National Property and Casualty Company, American National General Insurance
Company and ANPAC Louisiana Insurance Company), the only remaining defendants in the
Road Home litigation. On or before May 31, 2013 pursuant to said Order, Plaintiff filed one
thousand five hundred and four (1,504) amended complaints, with each. complaint being for
particularly identified insured(s)/assignor(s)/subrogor(s). Defendants were ordered to show
cause why this matter should not be remanded for lack of subject matter jurisdiction.

As shown below, the Court does not have federal subject matter jurisdiction over the
above-captioned matter under CAFA, 28 U.S.C. §§ 1332(d), 1441 (a) and (b) or 1453.

LAW AND ARGUMENT

A. The Court Lacks Original Subject Matter Jurisdiction Under CAFA Due to the
Mass Misjoinder of Parties and Causes of Action

Defendants’ allege that jurisdiction is determined at the time of filing or removal. While
there are exceptions to this general rule (discussed below at Section C), regardless of when
jurisdiction is determined, the Eastern District of Louisiana never possessed federal subject
matter jurisdiction of the Road Home litigation under CAFA due to the mass misjoinder of
parties and actions in the original and amended petition.

Following the August 23, 2007 initial filing of the Road Home litigation, certain
defendants removed this matter under CAFA on September 11, 2007. Based on this removal,
Defendants now allege that: (1) federal subject matter jurisdiction continues to exist over this

case pursuant to CAFA’s grant of federal question jurisdiction, 1441 (a) and (b) and 1453; (2)
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CAFA jurisdiction existed at the time of removal; and (3) CAFA jurisdiction is mandatory and
non-discretionary.

“When the original and amended petitions were filed, the State of Louisiana misjoined
parties and causes of action. The State of Louisiana in its original and amended petition joined
multiple different causes of action involving multiple different insureds/assignors/subrogors,
residences, defendant insurers, and policies.

In each severed action, the determination of liability on the part of each defendant insurer
is separate and independent from any other defendant insurer, and requires the Court to review a
unique set of facts. For this reason, individual petitions setting forth individual causes of action
was and is necessary. In fact, the severance order in this case provides that “the critical issue of
the validity of the assignment/subrogation rights upon which the State of Louisiana through its
Road Home program bases this action ‘must be evaluated on a policy by policy basis.’” Jn re
Katrina Canal Breaches Litig. v. Anpac La. Ins. Co., 645 F.3d 703 (5" Cir. 2011) (quoting Jn re
Katrina Canal Breaches Litig., No. 2010-CQ-1823, 63 So.3d 955, 2011 WL 1774330, at *1 (La.
5/10/11)). Fundamentally, but for the mass misjoinder of parties and causes of action in the
original and amended petitions, the defendants would not be entitled to removal under CAFA.
B. Improperly Plead Facts Cannot Form the Basis of Subject Matter Jurisdiction

Courts have declined subject matter jurisdiction where facts originally plead are found to
be inaccurate. In St. Charles Property Ass’n vy. Certain Underwriters at Lloyd ’s London, 2009
WL 3232034 (E.D.La. 10/2/09), Judge Berrigan ruled that the court lacked diversity jurisdiction
where a complaint alleged complete diversity, and later-introduced evidence contradicted
complete diversity. 2009 WL 3232034, at *4. Analogously, the original and amended Road

Home petitions make allegations of joinder of causes and actions, which were subsequently
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found to be misjoinders. The mass misjoinder formed the basis of jurisdiction under CAFA
permitting removal. Just like the court in St, Charles Property Ass’n who declined to extend
jurisdiction upon finding that evidence superseded the facts plead in the plaintiff's complaint, so
to should this court decline to find jurisdiction on the basis of the mass misjoinder. Additionally,
the Eastern District of Louisiana in many severed Katrina matter cases where the amended
complaint alleged complete diversity looked at later-introduced evidence which contradicted
complete diversity based on the amount in controversy and because of this ruled that the court
lacked subject matter jurisdiction."

But for the mass misjoinder, there is no federal subject matter jurisdiction in this case.
Therefore, the Court did not at the time of removal—and still does not-—have subject matter
jurisdiction over this matter. In light of the absence of subject matter jurisdiction, remand of this
case is appropriate. See 28 U.S.C. § 1447(c) (stating: “[i|f at any time before final judgment it
appears that the district court lacks subject matter jurisdiction, the case shall be remanded.”).

Cc. The Individual Severed Cases Lack Subject Matter Jurisdiction Under CAFA

Plaintiffs’ contend that this Court lacked original federal subject matter jurisdiction under
CAFA at the time of filing or removal. However, even if this Court determines that CAFA
provided subject matter jurisdiction at the time of removal, rulings from the Fifth Circuit Court
of Appeal and several district courts support the contention that federal subject matter
jurisdiction for the individual severed cases is determined at the time of severance. See

Honeywell International Inc. v. Phillips Petroleum Co., 415 F.3d 429, 431-432 ™ Cir. 2005).

 

| See Johnson v. American Security Ins. Co., 2010 WL 2680583 (E.D.La. June 30, 2010); Minor v. American
Security Ins. Co., 2010 WL 2680576 (E.D.La. June 30, 2010), Scott v. American Security Ins. Co., 2010 WL
2680584 (E.D:La. June 30, 2010), Duvernay v, American Security Ins. Co., 2010 WL 2674588 (E.D.La. June 30,
2010), and Cooley v. American Security Ins. Co., 2010 WL 2680586 (E.D.La. June 30, 2010).
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As of the time of severance, this case does not provide subject matter jurisdiction, and remand ts
appropriate.

According to the United States Court of Appeals, Fifth Circuit, “[i[n assessing whether
the district court had subject matter jurisdiction, we generally look to the time at which the action
commenced.” Honeywell International Inc., 415 F.3d 429, 431-432 (citing Carney v. Resolution
Trust Corp., 19 F.3d 950, 954 6" Cir. 1994). “However, a severed action must have an
independent jurisdictional basis.” Jd. (citing United States v. O'Neil, 709 F.2d 361, 375 (5™ Cir.
1983). The existence of subject matter jurisdiction is determined at the point at which the action
was severed. Honeywell International Inc. v. Phillips Petroleum Co., 415 F.3d 429, 432 a"
Cir, 2005). 3

In Bowman y. American Security Ins. Co., 2011 WL 163601 (E.D.La. January 19, 2011),
Judge Lemelle ruled that the “Plaintiff cannot rely on the court’s jurisdiction over the previous
class actions as a basis for subject matter jurisdiction in her individual claim.” The plaintiff had
argued that the court had subject matter jurisdiction because the “action was severed from a class
action to which the court had jurisdiction pursuant to the Class Action Faimess Act ((CAFA’),
28 U.S.C. § 1332 (d).” The Bowman case was severed from Adams v. American Security Ins.
Co., Civ. Act. No. 09-2609.4 The Severance Order in Bowman required plaintiffs “to file

individual amended complaints against the proper individual insurer defendants by a stated

 

? See also Gilmore v. American Security Ins. Co., 2010 WL 4923990 (E.D.La. November 29, 2010); Edinburgh v.
American Security Ins. Co., 2010 WL 3923292 (E.D.La. September 28, 2010); Lewis v. American Security Ins. Co.,
2010 WL 4923996 (E.D.La. November 29, 2010); Wiltz v. American Security Ins. Co., 2010 WL 4668355 (E.D.La.
November 9, 2010).

3 See also Gilmore v. American Security Ins. Co., 2010 WL 4923990 (E.D.La. November 29, 2010), Edinburgh v.
American Security Ins. Co., 2010 WL 3923292 (E. D.La. September 28, 2010); Lewis v. American Security Ins. Ca.,
2010 WL 4923996 (E.D:La. November 29, 2010); Wiltz v. American Security Ins. Co., 2010 WL 4668355 (E.D.La.
November 9, 2010).

-4 Adams v. American Security Ins. Co. itself was previously severed from two class action/mass joinder matters,
Abadie v. Aegis Security Ins. Co., Civ. Act. No. 06-5164 (Abadie D} and Abadié v. Aegis Security Ins. Co.,Civ. Act.
No. 07-5112 (Abadie i}, both of which were previously consolidated into the levee breach litigation, Jn re Katrina
Canal Breaches Consolidated Litigation, Civ. Act, No, 05-4182.”
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deadline.” When the complaint was filed, it was “assigned a new title and docket number, and
was randomly allotted.” Jd, “[T]he class action aspects of Abadie [ and Abadie I were dismissed
with prejudice pursuant to the Order of Severance...” id “Neither the Adams case...nor
Plaintiffs Amended Complaint contain[ed] class allegations so as to form the basis for
jurisdiction in this severed action.” Jd.

In Johnson v. American Security Ins. Co., 2010 WL 2680583 (E.D.La. June 30, 2010),
Judge Berrigan rejected the argument CAFA provides jurisdiction over severed Hurricane
Katrina claims. According to Judge Berrigan “no class relevant to the instant claims ha[d] ever
been recognized under CAFA or otherwise in the history of the expanded litigation from which
these claims were severed.” Judge Berrigan continued, “[a]ny class action ha[d] been dismissed,
and ‘a severed action must have an independent jurisdictional basis.’”” Johnson v. American
Security Ins. Co., 2010 WL 2680583 (E.D.La. June 30, 2010) at *1.

Like the Bowman and Johnson cases discusses above, in the case before this Court and at
the time the Severance Order was issued, no class had ever been recognized under CAFA or
otherwise in the history of this expanded litigation. Defendants therefore cannot rely on the
court’s jurisdiction over the previous class action allegations in the original or amending
petitions in the Road Home litigation. The Road Home litigation, from which this case was
severed, dismissed all class action allegations by Motion and Order issued by the Court nunc pro
tunc on April 9,.2012, dismissing those allegations as of December 3, 2010. See (R. Doc. 289,
Case No. 07-5528, “Motion to Dismiss Class Allegations Nunc Pro Tunc”, Rec. Doc. 292, Case

No. 07-5528, “Order” and (R. Doc. 453, Case No. 07-5528, “Severance Order”).

 

> See also Minor v. American Security ins. Co., 2010 WL 2680576 (E.D.La. Fune 30; 2010), Scott v..American —
Security Ins. Co., 2010 WL 2680584 (E:D.La. June 30, 2010), Duvernay v. American Security Ins. Co., 2010 WL
2674588 (E.D.La. June 30, 2010), and Cooley v. American Security Ins. Co., 2010 WL 2680586 (E.D.La. June 30,
2010).
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In Gilmore v. American Security Ins. Co., 2010 WL 4923990 (E.D.La. November 29,
2010), Edinburgh v. American Security Ins. Co., 2010 WL 3923292 (E.D.La. September 28,
2010), Lewis v. American Security Ins. Co-, 2010 WL 4923996 (E.D.La. November 29, 2010),
and Wiltz v. American Security Ins. Co., 2010 WL 4668355 (E.D.La. November 9, 2010)
Plaintiff urged the Court “to look to the time when [plaintiff] originally brought [plantiff's]
claim...to determine whether the [] action satisfie[d]” jurisdictional requirements. Plaintiff
contended “that the subsequent severance of [plaintiff's] claims ha[d] no impact on the
jurisdictional inquiry.” Based on the United States Court of Appeals, Fifth Circuit’s ruling
discussed above, Judge Fallon ruled in each of the above cases that Plaintiff's contention was
incorrect.° Likewise, Defendants’ contentions in this case that federal subject matter jurisdiction
continues to exist and that the severance order has no impact on the. jurisdictional inquiry is
incorrect.

In Thomas v. American Nat. Property Ins. Co., 2011 WL 2945790 (E.D.La. July 19,
2011) at *4, the Court rejected the argument that “eight Plaintiffs satisf[ied] CAFA’s
requirements by virtue of being involved in a separate class action suit.” The Court rejected this
argument because “‘a new civil action is involved, over which this Court requires its own subject
matter jurisdiction.” Jd. at *4. Like Thomas, this case involves a new civil action under a new
caption and docket number requiring an independent basis for subject matter jurisdiction.
Subject matter jurisdiction for severed claims is determined at the time of severance, and this

claim lacked subject matter jurisdiction at the time of severance.

 

° See Gilmore v. American Security Ins. Co., 2010 WL 4923990 (E.D.La. November 29, 2010), Edinburgh v.
American Security Ins. Co., 2010 WL 3923292 (E.D.La. September 28, 2010), Lewis v. American Security Ins. Co.,
-2010 WL 4923996 (E.D.La. November 29, 2010), and Wiltz v. American Security Ins. Co., 2010 WL 4668355
(E.D.La. November 9, 2010).
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At the time this case was severed, the Court did not have subject matter jurisdiction over
this matter. The Severance Order, coupled with the dictates of the Fifth Circuit in Honeywell
International Inc. v. Phillips Petroleum Co., implicitly require that each amended complaint filed
pursuant to the Order would need to have an independent jurisdictional basis. In furtherance of
establishing an independent jurisdictional basis, the Severance Order required each individual
complaint severed from the Read Home case: (1) “assert[] whatever rights the State has obtained
from a particularly identified individual insured/assignor/subrogor concerning the relevant
specific insurance policy claims against.the appropriate above-listed defendant only”; (2) that
“[t]he caption of the Amended Complaint shall contain only the plaintiff(s) on behalf of the
particular insured/assignor/subrogor and the particular defendant insurer which are properly the
subject of those specific insurance claims and policy”; (3) that “[aJll pleadings regarding those
claims shall thereafter bear the new title, docket number and section of the new case”; and (4)
“Tajny claims not timely brought before the court by amended complaint as ordered herein will
be deemed dismissed without further notice.” The Severance Order makes no mention of
preserving federal subject matter jurisdiction under CAFA over each new case initiated by the
filing of the amended complaint.

Defendants argue “that federal subject matter jurisdiction continues to exist over this case
under” CAFA, 28 U.S.C. §§ 1332(d), 1441 (a) and (b) and 1453. However, based on the Fifth
Circuit’s ruling in Honeywell International Inc. v. Phillips Petroleum Co., at the time the above-
captioned matter was severed, the Court did not have subject matter jurisdiction because (1) all
underlying class allegations in the Read Home parent litigation had been dismissed, and (2) this

claim requires an independent basis for subject matter jurisdiction.

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D. This Claim Cannot Support Diversity Jurisdiction Due to Insufficient Amount in
Controversy

Defendants further cannot show cause to prevent remand because this individual severed
claim does not meet the requirements for diversity jurisdiction. As evident from the face of the
pleadings, the amount in controversy for this individual, severed claim is less than $75,000.

KE. This Matter Should be Remanded for Lack of Subject Matter Jurisdiction

Contrary to Defendants’ allegations that the only remedy for lack of subject matter
jurisdiction is dismissal, this matter should be remanded to the Civil District Court for the Parish
of Orleans. “Tf at any time before final judgment it appears that the district court lacks subject
matter jurisdiction, the case shall be remanded.” See 28 USC. § 1447(c).

Defendants’ cite International Carrier-Call & Television Corp. v. Radio Corp. of
America, 50 F.Supp. 759 (S.D.N.Y. 1943) for their dismissal contention. In that case the Court
states, “The action was commenced in this court. Since there was no removal from the state
court there can be no remand to that court.” Jd. However, the facts of the Road Home litigation
are totally different: (1) the Road Home litigation was filed in the Civil District Court for the
Parish of Orleans; (2) the Road Home litigation was removed to federal court due to the mass
misjoinder of parties and actions in the original and amended petitions; (3) but for the mass
misjoinder, there was no federal subject matter jurisdiction and the Road Home litigation would
not have been removed to federal court; and (4) the supplemental and amended complaints were
only filed in federal court pursuant to the Severance Order of Magistrate Judge Wilkinson. (R.
Doc. 453, Case No. 07-5528) (“Severance Order”), For the reasons explained throughout this

brief, this matter should be remanded to the Crvil District Court for the Parish of Orleans.

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CONCLUSION

The Court did not have federal subject matter jurisdiction over this case at the time of
filing or at the time of removal based on the mass misjoinder of parties and causes of action.
Furthermore, the Court did not have federal subject matter jurisdiction over this cause when the
. Severance Order was issued on April 22, 2013. Because the class allegations were dismissed as
of December 3, 2010, and the State filed amended complaints on behalf of each individual
insured/assignor/subrogor without reference to a class action and/or mass joinder of plaintiffs
and defendants (other than to delete any reference to them), subject matter jurisdiction does not
exist over this case.

Due to the facts and the case law cited above, the claims filed on behalf of the
insured/assignor/subrogor do not satisfy all of the requirements under CAFA for federal subject
matter jurisdiction, nor do they satisfy the requirements for diversity jurisdiction—specifically,
there is an insufficient amount in controversy in this case.

However, even if this court does not find that the mass misjoinder of parties and claims
deprives the Eastern District of Louisiana of original federal subject matter jurisdiction, Judge
Lemelle’s ruling in Bowman further supports the alternative argument that the Defendants in this
case “cannot rely on the court’s jurisdiction over the previous class actions as a basis for subject
matter jurisdiction” when determining jurisdiction over severed claims. Bowman v. American
Security Ins. Co., 2011 WL 163601 (E.D.La. January 19, 2011) at *2. Due to the absence of
subject matter jurisdiction in this case, this matter should be remanded to the Civil District Court

for the Parish of Orleans.

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Respectfully submitted:

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CERTIFICATE OF SERVICE

Thereby certify that a copy of the above Brief has been served upon all counsel of record
by electronic notice via the Court's CM/ECF system this 11th day of July, 2013.

/s/ Joseph M. Bruno

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